Case: 3:19-cv-00360-WHR-SLO Doc #: 3 Filed: 11/15/19 Page: 1 of 4 PAGEID #: 21




                               IN THE UNITED STA TES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                      Mo~am~\ DIVISION

      - lo



                               VS.




If there are additional Defendants, please list them:

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                                                      COMPLAINT



I.    Parties to the action:

      Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                    the court may contact you and mail documents to you. A telephone number is required.




                    Street Address

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                    Telephone Number
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      If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
      page with their ful I names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
      form.
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       Defendant(s):

       Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
       form is invalid unless each Defendant appears with full address for proper service.

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                Address: Street, City, State an    ip Code

       2.                            Mo.'(\?, ·12'f ~c_\<

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       5.



       6.



                If there are additional Defendants, please list their names and addresses on a separate sheet of paper.


II.   Subject Matter Jurisdiction

      Check the box or boxes that describes your lawsuit:

            '
      ) ( Title 28 U.S.C. § 1343(3)
               (A civil rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you of a
               right secured by federal law or the Constitution.]

      ,(Title 28 U.S.C. § 1331
             (A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

      0         Title 28 U.S.C. § 1332(a)(I)
                     (A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

      0         Title _ _ United States Code, Section _ __
                     (Other federal status giving the court subject matter jurisdiction.]




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III. Statement of Claim

    Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
    name of all persons involved, give dates and places.

    Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
    Attach extra sheets that deal with your statement claim immediately behind this piece of paper.



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 IV. Previous lawsuits:

     If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
     (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

     Case Number

                                                          _ _ _ _ _ _ _ _ _ _ _ vs. - - - - - - - - - - -

                                                          _ _ _ _ _ _ _ _ _ __ v s . - --                         - --         - - -- -
                                                          _ _ _ _ _ _ _ _ _ _ _ vs. _ _ _ _ _ _ _ _ _ __




V. Relief

     In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
     argument, cite no case or statutes.

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    I state under penalty of perjury that the foregoi ng is true and correct. Executed on

    this   B_ day of ~                                     ).                  , 2oj_J_.



    s;~~
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